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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         :
                                                 :
                v.                               :        Case No. 1:21-cr-382 (PLF)
                                                 :
CHRISTOPHER WARNAGIRIS,                          :
                                                 :
                        Defendant.               :

                                     JOINT STATUS REPORT

        The United States of America and Defendant Christopher Warnagiris, by and through his

counsel, (collectively, “the parties”), respectfully and jointly submit this status report at the Court’s

request.

        On December 14, 2023, Defendant Warnagiris filed a motion to stay (ECF No. 103) which

the government opposed (ECF No. 104). On December 21, 2023, the Court issued a Minute Order

vacating the January 22, 2024 bench trial due to scheduling issues. The Court further ordered the

parties to submit a joint status report with proposed trial dates in April, May, and June of 2024 by

January 16, 2024

        Accordingly, the parties jointly and respectfully submit their availability during the

following time periods:

                                         •   April 1-5
                                         •   April 9-10
                                         •   May 20-30
                                         •   June 17-19
                                         •   July 15-26

        Under the Speedy Trial Act, 18 USC 3161, the parties jointly request that the Court should

exclude the time until the new trial date. An ends-of-justice exclusion under 18 U.S.C. 3161(h)(7)(A) is
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appropriate for reasons including the complexity of the issues and had and adequate time for effective

preparation. 18 U.S.C. 3161(h)(7)(B)(ii) and (iv).




                                                 Respectfully submitted,

                                                 MATTHEW M. GRAVES
                                                 UNITED STATES ATTORNEY
For the Defendant,                               D.C. Bar Number 481052


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